           Case 3:18-cr-00465-MMC Document 409 Filed 03/23/22 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA


                                     CRIMINAL MINUTES

Date: March 23, 2022            Time: 5 hours 24 minutes       Judge: MAXINE M. CHESNEY


Case No.: 18-cr-00465-MMC- Case Name: UNITED STATES v. Fujian Jinhua Integrated Circuit, Co.
2

Attorney for Plaintiff: Laura Vartain, Nicholas Walsh, Nicholas Hunter, Stephen Marzen
Attorney for Defendant: Jack DiCanio, Emily Reitmeier, Matthew Sloan

 Deputy Clerk: Tracy Geiger                       Court Reporter: Ruth Levine Ekhaus



                                         PROCEEDINGS


Bench Trial – Day Fifteen.

Government witness(es): Continued direct examination of Dr. Thomas Dyer.

Admitted Trial Exhibits:

Government Exhibits: 476, 481, 484, 494, 502, 1526 (1st sentence to be redacted),
1527 (1st sentence to be redacted), 1528 (1st sentence to be redacted), 1530

CASE CONTINUED TO: March 24, 2022 at 9:00 a.m. for Continued Bench Trial
               Case 3:18-cr-00465-MMC Document 409 Filed 03/23/22 Page 2 of 2

                                 UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA

Case No: 18-cr-00465-MMC-2
Case Name: USA v. Fujian Jinhua Integrated Circuit, Co. Ltd.

                             TRIAL SHEET, EXHIBIT and WITNESS LIST

JUDGE:                               PLAINTIFF ATTORNEY:                   DEFENSE ATTORNEY:
Maxine M. Chesney                    Laura Vartain, Nicholas Walsh,        Jack DiCanio, Emily Reitmeier,
                                     Nicholas Hunter, Stephen Marzen       Matthew Sloan
TRIAL DATE:                          REPORTER(S):                          CLERK:
March 23, 2022                       Ruth Levine Ekhaus                    Tracy Geiger

PLF    DEF    DATE/TIME
NO.    NO.    OFFERED           ID      REC     DESCRIPTION                                           BY
              9:10 AM                           Court reconvened – all counsel present.
                                                Court addressed Defendant’s Motion to Conduct
                                                Witness Testimony Remotely.
              9:38 AM                           Continued direct examination of Dr. Thomas Dyer       Gvt
              10:38 AM                          Court recess
              10:55 AM                          Court reconvened
                                                Continued direct examination of Dr. Thomas Dyer       Gvt
              12:03 PM                          Court recess – 1 hour
              1:10 PM                           Court reconvened
                                                Continued direct examination of Dr. Thomas Dyer       Gvt
476           3/23/2022        X        X
481           3/23/2022        X        X
484           3/23/2022        X        X
494           3/23/2022        X        X
1530          3/23/2022        X        X
1526          3/23/2022         X       X       As amended – first sentence of email to be redacted
1527          3/23/2022         X       X       As amended – first sentence of email to be redacted
1528          3/23/2022         X       X       As amended – first sentence of email to be redacted
              2:38 PM                           Court recess
              2:58 PM                           Court reconvened
              2:59 PM                           Continued direct examination of Dr. Thomas Dyer       Gvt
                                                Dyer demonstrative A
                                                Dyer demonstrative B
502           3/22/2022        X        X
              4:18 PM                           Court recess


                                                      1
